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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
 ABBOTT LABORATORIES,                                         :
                                              Plaintiff,      :
                                                              :   18 Civ. 8468 (LGS)
                            -against-                         :    19 Civ. 600 (LGS)
                                                              :
 NANCY FEINBERG et al.,                                       :        ORDER
                                                              :
                                              Defendants. :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS the bench trial in this case was adjourned sine die per the October 14, 2020,

Order (Dkt. No. 154). It is hereby

        ORDERED that the bench trial will begin on November 9, 2020, at 9:45 a.m., or the

Court's first available date thereafter. It is further

        ORDERED that the parties shall be ready to proceed on 24 hours' notice on or after

November 9, 2020. The parties are reminded that their revised exhibit lists, joint letter and joint

deposition designations (Dkt. No. 154) are due seven days prior to trial, or November 2, 2020.



Dated: October 15, 2020
       New York, New York
